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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


 Cicarelli,
         Plaintiff,

         v.                                                 Civil No. 3:11cv1187 (JBA)

 Commercial Recovery System, Inc., et al,
     Defendants.

               ORDER OF DISMISSAL ON REPORT OF SETTLEMENT

        Counsel reported that this matter has been resolved and that no further action in this

matter is required.

        If either party wishes to file a stipulation of dismissal (for approval by the court or

for inclusion in the court’s file), they may do so on or before November 14, 2011.

        This date may be extended by motion filed under D. Conn. L. Civ. R. 7(b)(2)

(requiring good cause).

        The Court appreciates the efforts of counsel in resolving this matter. The Clerk is

directed to close this case.

                                               IT IS SO ORDERED.


                                               /s/________________________
                                               Janet Bond Arterton, U.S.D.J.


Dated at New Haven, Connecticut this 13th day of October 2011.
